Case 1-23-43812-nhl   Doc 9-6   Filed 04/29/24   Entered 04/29/24 22:39:07




                            EXHIBIT F
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30 AM
NYSCEF DOC. NO. 161                                                                    RECEIVED NYSCEF: 08/15/2023




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF QUEENS
          ------------------------------------------------------------------------x
          Sanford Funding LLC,                                                      Index No. 709057/2021

                                                        Plaintiff,
                                                                                      NOTICE OF ENTRY
                                  -against-

          143-30 Sanford Ave LLC, Vincent Garofalo,
          New York City Environmental Control Board,
          Commissioner of Labor State of New York,
          Thermal Profiles, Inc., Criminal Court of the
          City of New York, Department of Housing
          Preservation and Development of the City of
          New York, Cheng Long, Han Zhang, Milagro
          Arivalo, Elisa Arivalo, Michael Perez, Marian
          Zurita, Ian Montija, Paola Montija, Lisette
          Soto, Jane Doe, and Victor Benitez,

                                                        Defendants
          ------------------------------------------------------------------------x


                 PLEASE TAKE NOTICE that the within is a true copy of an order

          entered in the office of the clerk of the within named Court, at 88-11

          Sutphin Blvd., Jamaica, NY 11435 on August 15, 2023.


          Dated: Whitestone, New York
                 August 15, 2023

                                             Borchert, & LaSpina, P.C.


                                             By: /s/ Jason Sackoor
                                               Jason Sackoor, Esq.
                                               Attorneys for Plaintiff




                                                       1 of 30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30 AM
NYSCEF DOC. NO. 161                                                  RECEIVED NYSCEF: 08/15/2023




                                          19-02 Whitestone Expressway, Suite 302
                                          Whitestone, New York 11357
                                          (718) 767-3333



          TO: Law Office of Clifford Olshaker, P.C.
              Attorneys for Defendants 143-30 Sanford Ave LLC
              And Vincent Garofalo
              4047 75th Street 3rd Floor
              Elmhurst, NY 11373

                143-30 Sanford Ave LLC
                143-30 Sanford Avenue
                Flushing, NY 11355

                Vincent Garofalo
                158-15 Cross Island Parkway
                Whitestone, NY 11357

                Frank Bruno, Jr., Esq.,
                Referee
                69-09 Myrtle Avenue
                Glendale, NY 11385

                Gerard A. Geisweller, Esq.
                Receiver
                Mattone Mattone Mattone LLP
                134-01 20th Avenue
                College Point, NY 11356

                New York City Department of Finance
                Office of Legal Affairs
                375 Pearl Street - 30th Floor
                New York, New York 10038
                ATTENTION: BERNARD J. TORDESILLAS, ESQ.




                                                 2

                                              2 of 30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30 AM
NYSCEF DOC. NO. 161                                               RECEIVED NYSCEF: 08/15/2023




                Department of Housing Preservation and
                Development of the City of New York
                100 Church Street, Room 3-118
                New York, NY 10007
                Attn: Joy Anakhu, Esq.

                Commissioner of Labor State of New York
                W.A. Harriman Campus, Building 12
                Albany, NY 12227

                Thermal Profiles, Inc.,
                c/o Milton Milbauer
                100 Dupont St.
                Plainview, NY 11803

                Criminal Court of the City of New York
                120-55 Queens Boulevard
                Queens, NY 11424

                Cheng Long
                143-30 Sanford Avenue, Apt. 5M
                Flushing NY 11355

                Han Zhang
                143-30 Sanford Avenue, Apt. 5M
                Flushing NY 11355

                Milagro Arivalo
                143-30 Sanford Avenue, Apt. 1H
                Flushing NY 11355

                Elisa Arivalo
                143-30 Sanford Avenue, Apt. 1H
                Flushing NY 11355

                Michael Perez
                143-30 Sanford Avenue, Apt. 5E
                Flushing NY 11355




                                              3

                                           3 of 30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30 AM
NYSCEF DOC. NO. 161                                               RECEIVED NYSCEF: 08/15/2023




                Marian Zurita
                143-30 Sanford Avenue, Apt. 4L
                Flushing NY 11355

                Ian Montija
                143-30 Sanford Avenue, Apt. 3J
                Flushing NY 11355

                Paola Montija
                143-30 Sanford Avenue, Apt. 3J
                Flushing NY 11355

                Lisette Soto
                143-30 Sanford Avenue, Apt. 3L
                Flushing NY 11355

                Jane Doe
                143-30 Sanford Avenue, Apt. 1E
                Flushing NY 11355

                Victor Benitez
                143-30 Sanford Avenue, Apt. 1E
                Flushing NY 11355




                                             4

                                          4 of 30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30   10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                                               8/15/2023, 10:26:39 AM




                                          1 of 30
                                          5    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          2 of 30
                                          6    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          3 of 30
                                          7    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          4 of 30
                                          8    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                      INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                              RECEIVED NYSCEF: 08/15/2023




                           8/15/2023, 10:26:39 AM




                                          5 of 30
                                          9    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          10
                                           6 of
                                              of 26
                                                  30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30   10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          11
                                           7 of
                                              of 26
                                                  30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          12
                                           8 of
                                              of 26
                                                  30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30   10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          13
                                           9 of
                                              of 26
                                                  30
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                      INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                              RECEIVED NYSCEF: 08/15/2023




                                         10 of 30
                                         14    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          11 of 30
                                          15    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          12 of 30
                                          16    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30   10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          13 of 30
                                          17    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          14 of 30
                                          18    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30   10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                                       2,944.38




                                          15 of 30
                                          19    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          16 of 30
                                          20    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          17 of 30
                                          21    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          18 of 30
                                          22    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          19 of 30
                                          23    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          20 of 30
                                          24    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                      INDEX NO. 709057/2021
FILED: QUEENS   COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                              RECEIVED NYSCEF: 08/15/2023




                                         21 of 30
                                         25    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                             8/15/2023, 10:26:39 AM




                                          22 of 30
                                          26    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                               RECEIVED NYSCEF: 08/15/2023




                                          23 of 30
                                          27    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                                                                                                                                          RECEIVED NYSCEF: 08/15/2023




               SUPREME                         COURT                      OF THE                       STATE                     OF NEW                      YORK
               COUNTY                      OF QUEENS
               -----------------------------------------------------------y

               Sanford                Funding                 LLC,
                                                                                                                                                                          COSTS             OF       PLAINTIFF
                                                                                                    Plaintiff,

                                                                                                                                                                          Index       No.       709057/2021
                                                              -against-

                                                                                                                                                                          Mortgaged                  Premises:

               143-30                 Sanford                Ave               LLC,              Vincent                    Garofalo,                                     143-30           Sanford        Avenue

               New           York           City         Environmental                                     Control                    Board,
                                                                                                                                                                          Flushing,             NY
               Commissioner                             of         Labor                   State             of          New            York,
                                                                                                                                                                              3559Block:               5183
               Thermal                  Profiles,                  Inc.,             Criminal                     Court                of      the

               City          of       New             York,                   Department                             of          Housing                                                   of   Queens
                                                                                                                                                                          County
               Preservation                          and       Development                                    of         the          City         of

               New          York,                                                                                                                                         MSQ         #4



               John               Doe           #1          through                         John              Doe                 #20             (Said

               names                being             fictitious,                     it     being                the            intention                   of

               Plaintiff              to     designate                          any              and         all          occupants                          of

               premises                     being              foreclosed                               herein,                       including,
                                                                                                                                                                                      2,944.38
               without                limitation,                    tenants                       or        other                   occupants                                                  8/15/2023
               who          may            have          some                  interest                 in    or          lien         upon             the

               Premises                    subordinate                          to         the      lien           of     the          Plaintiff's

               mortgage                    sought             to         be         foreclosed                          herein,



                                                                                                    Defendants.

               -----....---------------------------......--..---------------------Ç




                                                                                                                   COSTS


               Costs              before             Note           of        Issue-               CPLR                  8201                       ...................                               $200.00
                                                                                                                                         (1)



               Allowance                    by       statue-CPLR                                 8302              (a)         (b)      ......................                                        $150.00



                              First         $200.00                  at         10%...........................$20.00

                              Next          $800.00                      at     5%.............................$40.00

                              Next          $2,000.00                          at     20.........................$40.00




                                                                                                   24 of 30
                                                                                                   28    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                                                                                                                                                       RECEIVED NYSCEF: 08/15/2023




                               Next            $5,000.00                          at        1%..........................$50.00




               Additional                    Allowance                            -CPLR                 8302(d)                   ..........................                                                             $     50.00

               Discretionary                              costs             on         motion                -CPLR                8303(a)                      (1)         ...........                                   $135.00



                                                                                  FEES               AND               DISBURSEMENTS


               Fee       for        index                 number                  -.......................                                                               CPLR                  8018(a)                       $400.00

               Referee's                  fee             to      compute,                       per         order           of     the         court                    CPLR8003(a)                                         $350.00

               Paid         for       searches-...                                                                                                 CPLR                   8301(a)                         (10)               $544.38
                                                          of    Summons                           and          Complaint-                        CPLR                                                                        $1390.00        $1,030.00
               Serving               copy                                                                                                                                 8301(d)
               Reproduction                               costs.................................CPLR                                                                           8301(a)(6)                                    $0
               Fees          for       Publication                           of        Summons...............CPLR                                                              8301(a)                      (3)              $0

               Certification                         of        Copies                  of     papers.................CPLR                                                      8301                 (a)      (4)             $0

               Request                 for        Judicial                   Intervention                            .....................CPLR                                                 8020(a)                       $95.00

               Clerk's             fee         for         filing           of     Notice               of          Pendency...CPLR                                            8021(a)                     (10)              $35.00

               Skip         trace             fees.............................................CPLR                                                                                            8301(d)                       $0
               Motion              fees.................................................CPLR                                                                                                  8020               (a)         $90.00
               Note         of      Issue                 .............................................CPLR                                                                                   8020           (a)             $0.00



                                                                                                                                          Total                .......                   $2,944.38 $3,439.38

                                                                                  ATTORNEY'S                                    AFFIRMATION


               The         undersigned,                                Jason                 Sackoor,                   Esq.,            pursuant                         to     CPLR                     2106            and        under

               penalties                 of       perjury                   affirms               as         follow:



                             That              he         is     the                                   of       record             for       the          Plaintiff                      in     the         above-
                                                                            attorney
               captioned                     action,                 that         the          foregoing                    disbursements                                      have              been                  incurred         in

               this      action               and              are      reasonable                            in     amount,                   and             that            the            copies               of

               documents                        or         papers                 charged                     for      herein             were                 actually                       and          necessarily
               obtained.



               Dated:                           Whitestone,                                 New         York

                                                October                      5,        2022




                                                                                                       25 of 30
                                                                                                       29    26
          Case 1-23-43812-nhl Doc 9-6 Filed 04/29/24 Entered 04/29/24 22:39:07
                                                                       INDEX NO. 709057/2021
FILED: QUEENS  COUNTY CLERK 08/15/2023 11:30    10:28 AM
NYSCEF DOC. NO. 161
                160                                                               RECEIVED NYSCEF: 08/15/2023




                                                      ason              ckoor,          Esq.

                                                       orchert         &     LaSpina,               PC
                                                                       for      the     Plaintiff
                                                     Attorney
                                                     19-02         Whitestone                  Expressway,

                                                     Suite       302

                                                     Whitestone,                 New       York          11357

                                                     (718)       767-3333




                                          26 of 30
                                          30    26
